     Case 21-30589-MBK            Doc 1523 Filed 02/17/22 Entered 02/18/22 00:11:44                          Desc
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Form order − ntcorder

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                         Case No.: 21−30589−MBK
                                         Chapter: 11
                                         Judge: Michael B. Kaplan

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   LTL Management LLC
   fka Chenango One LLC
   501 George Street
   New Brunswick, NJ 08933
Social Security No.:

Employer's Tax I.D. No.:
  87−3056622




                                      NOTICE OF JUDGMENT OR ORDER
                                        Pursuant to Fed. R. Bankr. P. 9022

      Please be advised that on February 15, 2022, the court entered the following judgment or order on the court's
docket in the above−captioned case:
Document Number: 1483 − 410, 547
ORDER AUTHORIZING RETENTION OF BATES WHITE, LLC (related document:410 Ex Parte Application
w/Affidavit to Employ Professional Bates White, LLC filed by John R. Miller Jr. on behalf of LTL Management
LLC. (Miller, John) [Transferred from North Carolina Western on 11/16/2021.] filed by Debtor LTL Management
LLC, 547 Application For Retention of Professional Bates White, LLC as Talc Consultants Filed by Paul R.
DeFilippo on behalf of LTL Management LLC. (Attachments: # 1 Exhibit A − Engagement Letter # 2 Exhibit B −
Certification of Charles H. Mullin, Ph.D. in Support of Application for Retention of Bates White, LLC # 3 Exhibit 1
to Certification of Charles H. Mullin, Ph.D. − Charles H. Mullin, Ph.D. Curriculum Vitae # 4 Exhibit 2 to
Certification of Charles H. Mullin, Ph.D. − Interested Parties List # 5 Exhibit 3 to Certification of Charles H. Mullin,
Ph.D. − Schedule of Affiliations # 6 Proposed Order) filed by Debtor LTL Management LLC). Service of notice of
the entry of this order pursuant to Rule 9022 was made on the appropriate parties. See BNC Certificate of Notice.
Signed on 2/15/2022. (wir)

     Parties may review the order by accessing it through PACER or the court's electronic case filing system
(CM/ECF). Public terminals for viewing are also available at the courthouse in each vicinage.




Dated: February 15, 2022
JAN: wir

                                                                         Jeanne Naughton
                                                                         Clerk
           Case 21-30589-MBK                     Doc 1523 Filed 02/17/22 Entered 02/18/22 00:11:44                                                Desc
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-30589-MBK
LTL Management LLC                                                                                                     Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 14
Date Rcvd: Feb 15, 2022                                               Form ID: orderntc                                                          Total Noticed: 2
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Feb 17, 2022:
Recip ID                 Recipient Name and Address
db                     + LTL Management LLC, 501 George Street, New Brunswick, NJ 08933-0001
op                     + Bates White, LLC, 2001 K Street NW, North Building, Suite 500, Washington, DC 20006-1040

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Feb 17, 2022                                            Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on February 15, 2022 at the address(es) listed
below:
Name                               Email Address
Adam C. Silverstein
                                   on behalf of Interested Party The Plaintiffs Steering Committee in the In re: Johnson & Johnson Talcum Powder Products
                                   Marketing Sales Practices and Products Liability Multi-District Litigation asilverstein@otterbourg.com,
                                   awilliams@otterbourg.com

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                                   on behalf of Interested Party Imerys Talc Canada Inc. adam.ravin@lw.com

Adam S. Ravin
                                   on behalf of Interested Party Imerys Talc America Inc. adam.ravin@lw.com

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          Case 21-30589-MBK               Doc 1523 Filed 02/17/22 Entered 02/18/22 00:11:44                                               Desc
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Date Rcvd: Feb 15, 2022                                        Form ID: orderntc                                                          Total Noticed: 2
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                             Plaintiffs) arichmond@pryorcashman.com
             Case 21-30589-MBK           Doc 1523 Filed 02/17/22 Entered 02/18/22 00:11:44                                            Desc
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Date Rcvd: Feb 15, 2022                                      Form ID: orderntc                                                        Total Noticed: 2
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           Case 21-30589-MBK           Doc 1523 Filed 02/17/22 Entered 02/18/22 00:11:44                                           Desc
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Date Rcvd: Feb 15, 2022                                     Form ID: orderntc                                                      Total Noticed: 2
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          Case 21-30589-MBK            Doc 1523 Filed 02/17/22 Entered 02/18/22 00:11:44                                          Desc
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Date Rcvd: Feb 15, 2022                                    Form ID: orderntc                                                      Total Noticed: 2
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Gregory Plotko
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          Case 21-30589-MBK           Doc 1523 Filed 02/17/22 Entered 02/18/22 00:11:44                                       Desc
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Date Rcvd: Feb 15, 2022                                    Form ID: orderntc                                                 Total Noticed: 2
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TOTAL: 319
